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                 4                                    UNITED STATES DISTRICT COURT
                 5                                           DISTRICT OF NEVADA
                 6                                                       ***
                 7       UNITED STATES OF AMERICA,                               Case No. 2:11-CR-48 JCM (CWH)
                 8                                               Plaintiff(s),                    ORDER
                 9                v.
               10        RUBEN AGUILAR,
               11                                              Defendant(s).
               12
               13                 Presently before the court is pro se                                                for
               14                                                                                   motion for a sentence
               15       reduction under Amendment 782 of 18 U.S.C. § 3582(c). (Doc. # 375). Finally before the court
               16
               17       # 376).
               18                 On November 7, 2014, defendant filed his first motion for a sentence reduction. (Doc. #
               19
               20                                                                                   (Doc. # 357).
               21                 In light of the foregoing, defendan
               22       been granted a sentence reduction based on Amendment 782 of 18 U.S.C. § 3582(c). The court
               23                                                                                   as moot.
               24                 Accordingly,
               25                 IT IS HEREB
               26       appointment of counsel, (doc. # 374), be, and the same hereby is, DENIED as moot.
               27
               28       375), be, and the same hereby is, DENIED as moot.

James C. Mahan
U.S. District Judge
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                1
                2     for a sentence reduction as moot, (doc. # 376), be, and the same hereby is, GRANTED.
                3            DATED July 27, 2015.
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                5                                                UNITED STATES DISTRICT JUDGE
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James C. Mahan
U.S. District Judge                                               -2-
